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 1   McGREGOR W. SCOTT
     United States Attorney
 2   WILLIAM S. WONG
     Assistant U.S. Attorney
 3   501 "I" Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2790
 5
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   ) 2:03-cr-0371 MCE
12                    Plaintiff,   )
                                   ) STIPULATION AND PROPOSED ORDER
13                v.               ) RESETTING STATUS REGARDING
                                   ) SENTENCING
14   DWIGHT FOWLER, et al.,        )
                                   ) DATE: April 4, 2006
15                    Defendants. ) TIME: 8:30 a.m.
     ______________________________) CTRM: Hon. Morrison C. England, Jr.
16
17         It is hereby stipulated between the parties, William Wong,
18   Assistant United States Attorney, attorney for Plaintiff; and Mark
19   Reichel, Assistant Federal Defender for defendant DWIGHT FOWLER, as
20   follows:
21         It is agreed that the current sentencing status conference date
22   of January 31, 2006 be vacated, and a new date of April 4, 2006 at
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

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 1   8:30 a.m. be set.    Therefore, a continuance is requested.            There is
 2   no need for an exclusion of time.
 3   Dated: January 31, 2006
                                               Respectfully submitted,
 4
 5
                                               /s/ Mark Reichel
 6                                             MARK REICHEL, AFD
                                               Attorney for Defendant
 7                                             DWIGHT FOWLER
 8
                                               MCGREGOR W. SCOTT
 9                                             United States Attorney
10
     Dated: January 31, 2006                   /s/ William S. Wong
11                                             WILLIAM S. WONG
                                               Assistant U.S. Attorney
12
     ________________________________________________________________
13
                                        ORDER
14
          UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
15
     hereby ordered that this matter be set for further sentencing status
16
     conference as set forth above.
17
          IT IS SO ORDERED.
18
19
     Dated: February 3, 2006
20
21
22                                      _____________________________
                                        MORRISON C. ENGLAND, JR
23
                                        UNITED STATES DISTRICT JUDGE
24
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